                    Case 19-24323            Doc 1       Filed 08/28/19 Entered 08/28/19 10:10:06                              Desc Main
                                                           Document     Page 1 of 41
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Libertyville Imaging Associates, Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  333 Peterson Road
                                  Suite 230
                                  Libertyville, IL 60048
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.libertyvilleimaging.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 19-24323                Doc 1        Filed 08/28/19 Entered 08/28/19 10:10:06                                   Desc Main
                                                                Document     Page 2 of 41
Debtor    Libertyville Imaging Associates, Inc                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Barkath Properties, LLC                                         Relationship            Affiliate
                                                             Northern District
                                                  District   Illinois                      When       8/21/19                Case number, if known   19-23544



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                    Case 19-24323            Doc 1        Filed 08/28/19 Entered 08/28/19 10:10:06                                 Desc Main
                                                            Document     Page 3 of 41
Debtor   Libertyville Imaging Associates, Inc                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    Case 19-24323            Doc 1       Filed 08/28/19 Entered 08/28/19 10:10:06                                Desc Main
                                                           Document     Page 4 of 41
Debtor    Libertyville Imaging Associates, Inc                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 28, 2019
                                                  MM / DD / YYYY


                             X   /s/ Shoukath Ahmed                                                       Shoukath Ahmed
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Chester H. Foster, Jr.                                                Date August 28, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Chester H. Foster, Jr. 3122632
                                 Printed name

                                 Foster Legal Services, PLLC
                                 Firm name

                                 16311 Byron Drive
                                 Orland Park, IL
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     708-403-3800                  Email address      chf@fosterlegalservices.com

                                 3122632 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                       Desc Main
                                                                   Document     Page 5 of 41




 Fill in this information to identify the case:

 Debtor name         Libertyville Imaging Associates, Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 28, 2019                         X /s/ Shoukath Ahmed
                                                                       Signature of individual signing on behalf of debtor

                                                                       Shoukath Ahmed
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                      Case 19-24323                    Doc 1         Filed 08/28/19 Entered 08/28/19 10:10:06                                      Desc Main
                                                                       Document     Page 6 of 41

 Fill in this information to identify the case:
 Debtor name Libertyville Imaging Associates, Inc
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Accel Capital                                                   Purchase of         Disputed                                                                             $34,070.00
 65 West 36th Street                                             certain accounts
 Suite 12                                                        receivables. This
 New York, NY 10018                                              creditor is listed
                                                                 as unsecured
                                                                 because Byline's
                                                                 superior lien on
                                                                 all of the Debtor's
                                                                 accounts receivab
 Accel Capital-TVT                                               Purchase of         Disputed                                                                             $17,250.00
 65 West 36th Street                                             certain accounts
 Suite 12                                                        receivables. This
 New York, NY 10018                                              creditor is listed
                                                                 as unsecured
                                                                 because Byline's
                                                                 superior lien on
                                                                 all of the Debtor's
                                                                 accounts receivab
 Alan H. Shiffrin &                                              Attorney's fees.                                                                                         $29,539.81
 Attorney
 3315 Algonquin
 Road
 Suite # 202
 Rolling Meadows, IL
 60008
 Amjad & Fauzia                                                  Investment Loan                                                                                          $90,000.00
 Safvi
 7804 W. College
 Drive
 Suite 3N
 Palos Heights, IL
 60463
 Bayer HealthCare                                                Trade debt                                                                                                   $376.13
 PO BOX 360172
 Pittsburgh, PA
 15251-6172




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                      Case 19-24323                    Doc 1         Filed 08/28/19 Entered 08/28/19 10:10:06                                      Desc Main
                                                                       Document     Page 7 of 41

 Debtor    Libertyville Imaging Associates, Inc                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bracco Diagnostics,                                             Trade debt                                                                                                 $1,994.66
 Inc.
 PO BOX 978952
 Dallas, TX
 75397-8952
 Byline Bank c/o                                                 Lien on all Assets                              $4,420,773.16             $1,223,881.78              $3,196,891.38
 Chuhak & Tecson,                                                of Debtor
 PC
 Kara Allen
 30 S. Wacker Dr.,
 Ste. 2600
 Chicago, IL
 60606-7512
 Catlana Caboor,                                                 Accounting fees.                                                                                         $14,264.00
 CPA
 101 West 22nd
 Street
 Suite #207
 Lombard, IL 60148
 Henry Shein                                                     Trade debt             Disputed                                                                            $7,160.05
 c/o Frontline Asset
 Strategies
 2700 Snelling Ave.
 N, Ste 250
 Saint Paul, MN
 55113
 McKesson Medical-                                               Trade debt.                                                                                                $3,257.01
 Surgical
 9954 Maryland Drive
 Suite 4000
 Richmond, VA
 23223
 Medline Industries,                                             Trade debt                                                                                                 $3,726.04
 Inc.
 Dept CH 14400
 Palatine, IL
 60055-4400
 MRI of Libertyville,                                            Sub-contractor                                                                                         $738,115.07
 LLC                                                             payments.
 333 Peterson Road
 Suite 230
 Libertyville, IL 60048
 MRIequip.com                                                    Trade debt                                                                                                 $1,394.34
 6248 Bittersweet
 Lane
 Nisswa, MN 56468
 Pitney Bowes                                                    Trade debt                                                                                                   $897.95
 PO BOX 371874
 Pittsburgh, PA
 15250-7874




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                      Case 19-24323                    Doc 1         Filed 08/28/19 Entered 08/28/19 10:10:06                                      Desc Main
                                                                       Document     Page 8 of 41

 Debtor    Libertyville Imaging Associates, Inc                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Radiology Reports                                               Reading charges.                                                                                         $91,755.00
 Online LLC
 7804 W College
 Drive
 Ste 3N
 Palos Heights, IL
 60463
 Rocky Mountain                                                  Trade debt                                                                                                   $390.00
 Chiropractic...
 7500 Wadsworth
 Blvd.
 Arvada, CO 80003
 Stericycle, Inc.                                                Trade debt                                                                                                   $390.67
 4010 Commercial
 Ave.
 Northbrook, IL
 60062
 TDS                                                             Telephone                                                                                                  $1,051.47
 PO BOX 94510                                                    services.
 Palatine, IL
 60094-4510
 Wise Medical                                                    Installation of MRI                                                                                      $34,641.55
 Services                                                        Machine.
 16308 S 107th Street
 Suite #10
 Orland Park, IL
 60467
 Zetta Medical                                                   CT/MRI Service                                                                                           $82,533.28
 Technologies                                                    Contracts.
 1313 Ensell Road
 Lake Zurich, IL
 60047




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                   Case 19-24323                            Doc 1               Filed 08/28/19 Entered 08/28/19 10:10:06                                                           Desc Main
                                                                                  Document     Page 9 of 41
 Fill in this information to identify the case:

 Debtor name            Libertyville Imaging Associates, Inc

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,223,892.52

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,223,892.52


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,420,773.16


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,153,133.04


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,573,906.20




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                  Case 19-24323                   Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                       Desc Main
                                                                  Document     Page 10 of 41
 Fill in this information to identify the case:

 Debtor name         Libertyville Imaging Associates, Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase Bank                                              Checking                        3052                                             $4.47




           3.2.     Huntington Bank                                         Checking                        8082                                             $3.60




           3.3.     Chase Bank                                              Checking - General              3060                                             $2.67



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $10.74
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                          Desc Main
                                                                  Document     Page 11 of 41
 Debtor         Libertyville Imaging Associates, Inc                                              Case number (If known)
                Name


        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                            2,130,202.23    -                        1,384,631.45 =....                      $745,570.78
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                               $745,570.78
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used     Current value of
           Include year, make, model, and identification numbers                 debtor's interest         for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 2
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06             Desc Main
                                                                  Document     Page 12 of 41
 Debtor         Libertyville Imaging Associates, Inc                                         Case number (If known)
                Name

            2007 Siemens 1.57 TIM AVANTO MRI

            NOTE: Value based upon value in Paragraph
            97 on BYLINE BANK Replevin Compliant.                                      Unknown       Appraisal                 $478,311.00




 51.        Total of Part 8.                                                                                                $478,311.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
                  Case 19-24323                       Doc 1           Filed 08/28/19 Entered 08/28/19 10:10:06                                         Desc Main
                                                                       Document     Page 13 of 41
 Debtor          Libertyville Imaging Associates, Inc                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $10.74

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $745,570.78

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $478,311.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,223,892.52            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,223,892.52




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                  Case 19-24323                    Doc 1         Filed 08/28/19 Entered 08/28/19 10:10:06                                   Desc Main
                                                                  Document     Page 14 of 41
 Fill in this information to identify the case:

 Debtor name          Libertyville Imaging Associates, Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
        Byline Bank c/o Chuhak &
 2.1                                                  Describe debtor's property that is subject to a lien                   $4,420,773.16             $1,223,881.78
        Tecson, PC
        Creditor's Name                               Lien on all Assets of Debtor
        Kara Allen
        30 S. Wacker Dr., Ste. 2600
        Chicago, IL 60606-7512
        Creditor's mailing address                    Describe the lien
                                                      UCC FILING
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                              $4,420,773.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        6

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         US Small Business Administration
         801 R Street                                                                                           Line   2.1
         Suite 101
         Fresno, CA 93721




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06           Desc Main
                                                                  Document     Page 15 of 41
 Debtor       Libertyville Imaging Associates, Inc                                       Case number (if know)
              Name

        US Small Business Administration
        801 Tom Martin Drive                                                                    Line   2.1
        Suite 120
        Birmingham, AL 35211




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                          Desc Main
                                                                  Document     Page 16 of 41
 Fill in this information to identify the case:

 Debtor name         Libertyville Imaging Associates, Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $34,070.00
           Accel Capital                                                        Contingent
           65 West 36th Street                                                  Unliquidated
           Suite 12
                                                                                Disputed
           New York, NY 10018
           Date(s) debt was incurred
                                                                                               Purchase of certain accounts receivables. This
                                                                             Basis for the claim:
                                                                             creditor is listed as unsecured because Byline's superior lien on all of
           Last 4 digits of account number                                   the Debtor's accounts receivable will consume all accounts
                                                                             receivable and, as such, this creditor holds no security.
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $17,250.00
           Accel Capital-TVT                                                    Contingent
           65 West 36th Street                                                  Unliquidated
           Suite 12
                                                                                Disputed
           New York, NY 10018
           Date(s) debt was incurred
                                                                                               Purchase of certain accounts receivables. This
                                                                             Basis for the claim:
                                                                             creditor is listed as unsecured because Byline's superior lien on all of
           Last 4 digits of account number                                   the Debtor's accounts receivable will consume all accounts
                                                                             receivable and, as such, this creditor holds no security.
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $29,539.81
           Alan H. Shiffrin & Attorney                                          Contingent
           3315 Algonquin Road                                                  Unliquidated
           Suite # 202                                                          Disputed
           Rolling Meadows, IL 60008
                                                                             Basis for the claim:    Attorney's fees.
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                         34868                                              Best Case Bankruptcy
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                          Desc Main
                                                                  Document     Page 17 of 41
 Debtor       Libertyville Imaging Associates, Inc                                                    Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $90,000.00
          Amjad & Fauzia Safvi                                                  Contingent
          7804 W. College Drive                                                 Unliquidated
          Suite 3N                                                              Disputed
          Palos Heights, IL 60463
                                                                             Basis for the claim:    Investment Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $376.13
          Bayer HealthCare                                                      Contingent
          PO BOX 360172                                                         Unliquidated
          Pittsburgh, PA 15251-6172                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       1875
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,994.66
          Bracco Diagnostics, Inc.                                              Contingent
          PO BOX 978952                                                         Unliquidated
          Dallas, TX 75397-8952                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       0575
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,264.00
          Catlana Caboor, CPA                                                   Contingent
          101 West 22nd Street                                                  Unliquidated
          Suite #207                                                            Disputed
          Lombard, IL 60148
                                                                             Basis for the claim:    Accounting fees.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $326.01
          First Choice Coffee Service                                           Contingent
          c/o Richard T Avis, Attorney & Ass.                                   Unliquidated
          PO BOX 31579                                                          Disputed
          Chicago, IL 60631
                                                                             Basis for the claim:    Coffee service.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,160.05
          Henry Shein                                                           Contingent
          c/o Frontline Asset Strategies                                        Unliquidated
          2700 Snelling Ave. N, Ste 250
                                                                                Disputed
          Saint Paul, MN 55113
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,257.01
          McKesson Medical- Surgical                                            Contingent
          9954 Maryland Drive                                                   Unliquidated
          Suite 4000                                                            Disputed
          Richmond, VA 23223
                                                                             Basis for the claim:    Trade debt.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                          Desc Main
                                                                  Document     Page 18 of 41
 Debtor       Libertyville Imaging Associates, Inc                                                    Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,726.04
          Medline Industries, Inc.                                              Contingent
          Dept CH 14400                                                         Unliquidated
          Palatine, IL 60055-4400                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $738,115.07
          MRI of Libertyville, LLC                                              Contingent
          333 Peterson Road                                                     Unliquidated
          Suite 230                                                             Disputed
          Libertyville, IL 60048
                                                                             Basis for the claim:    Sub-contractor payments.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,394.34
          MRIequip.com                                                          Contingent
          6248 Bittersweet Lane                                                 Unliquidated
          Nisswa, MN 56468                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          PenRad                                                                Contingent
          114 Commerce Circle                                                   Unliquidated
          Buffalo, MN 55313                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    License Fees (Mammography Tracking Program)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $897.95
          Pitney Bowes                                                          Contingent
          PO BOX 371874                                                         Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       6858
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $91,755.00
          Radiology Reports Online LLC                                          Contingent
          7804 W College Drive                                                  Unliquidated
          Ste 3N                                                                Disputed
          Palos Heights, IL 60463
                                                                             Basis for the claim:    Reading charges.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $390.00
          Rocky Mountain Chiropractic...                                        Contingent
          7500 Wadsworth Blvd.                                                  Unliquidated
          Arvada, CO 80003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 5
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                          Desc Main
                                                                  Document     Page 19 of 41
 Debtor       Libertyville Imaging Associates, Inc                                                    Case number (if known)
              Name

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           Spark Funding                                                        Contingent
           95 ROUTE 17 S                                                        Unliquidated
           Paramus, NJ 07652                                                    Disputed
           Date(s) debt was incurred
                                                                                               Certain purchased accounts receivables. This
                                                                             Basis for the claim:
           Last 4 digits of account number                                   creditor is listed as unsecured because Byline's superior lien on all of
                                                                             the Debtor's accounts receivable will consume all accounts
                                                                             receivable and, as such, this creditor holds no security.
                                                                             Is the claim subject to offset?     No       Yes

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           Spark Funding                                                        Contingent
           95 ROUTE 17 S                                                        Unliquidated
           Paramus, NJ 07652                                                    Disputed
           Date(s) debt was incurred
                                                                                               Certain purchased accounts receivables. This
                                                                             Basis for the claim:
           Last 4 digits of account number                                   creditor is listed as unsecured because Byline's superior lien on all of
                                                                             the Debtor's accounts receivable will consume all accounts
                                                                             receivable and, as such, this creditor holds no security.
                                                                             Is the claim subject to offset?     No       Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $390.67
           Stericycle, Inc.                                                     Contingent
           4010 Commercial Ave.                                                 Unliquidated
           Northbrook, IL 60062                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number      9658
                                                                             Is the claim subject to offset?     No       Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,051.47
           TDS                                                                  Contingent
           PO BOX 94510                                                         Unliquidated
           Palatine, IL 60094-4510                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone services.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $34,641.55
           Wise Medical Services                                                Contingent
           16308 S 107th Street                                                 Unliquidated
           Suite #10                                                            Disputed
           Orland Park, IL 60467
                                                                             Basis for the claim:    Installation of MRI Machine.
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $82,533.28
           Zetta Medical Technologies                                           Contingent
           1313 Ensell Road                                                     Unliquidated
           Lake Zurich, IL 60047                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    CT/MRI Service Contracts.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                  Desc Main
                                                                  Document     Page 20 of 41
 Debtor       Libertyville Imaging Associates, Inc                                                Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1       Accel Capital, Inc.
           c/o Tara N. Pomparellli, Esq.                                                         Line     3.1
           30 Wall Street; 8th Floor
                                                                                                        Not listed. Explain
           New York, NY 10005

 4.2       Accel Capital-TVT, Inc.
           c/o Tara N. Pomparellli, Esq.                                                         Line     3.2
           30 Wall Street; 8th Floor
                                                                                                        Not listed. Explain
           New York, NY 10005

 4.3       Lichtman Eisen Partners, Ltd.
           134 N. LaSalle Street                                                                 Line     3.16                                 3069
           Suite 750
                                                                                                        Not listed. Explain
           Chicago, IL 60602

 4.4       MRIequip.com
           c/o Thrive Collection Services                                                        Line     3.13
           9300 NE Vancouver Mall Dr. Ste. 204
                                                                                                        Not listed. Explain
           Vancouver, WA 98662

 4.5       Spark Funding
           c/o RTR Recovery,LLC.                                                                 Line     3.19
           122 East 42nd Street, Suite 2112
                                                                                                        Not listed. Explain
           New York, NY 10168

 4.6       SPARK FUNDING LLC
           c/o RTR Recovery,LLC.                                                                 Line     3.18
           122 East 42nd Street, Suite 2112
                                                                                                        Not listed. Explain
           New York, NY 10168


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  1,153,133.04

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    1,153,133.04




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 5
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   Case 19-24323         Doc 1      Filed 08/28/19 Entered 08/28/19 10:10:06                  Desc Main
                                     Document     Page 21 of 41


                                NOTE REGARDING SCHEDULE F CREDITORS

MRI of Libertyville, LLC (“MRI”) is an affiliate of this Debtor, Libertyville Imaging, Inc. (“LIA”). MRI is the
Chapter 11 Debtor is case number 19- ______ now pending in the US Bankruptcy Court for the Northern
District of Illinois, Eastern Division. MRI is in the business of performing CT and MRI imaging services as a
subcontractor for LIA. In the course of performing such imaging services, MRI takes co-payment amounts
from the patients on whom MRI performs the CT and MRI imaging services. In many instances, the
insurance companies covering such patients reimburses the co-payment amounts so received. LIA believes
that, to the extent that such reimbursements have been paid by the insurance companies and not remitted to
the patients (the “Co-Pay Reimbursement Patients”), such patients hold claims against MRI. MRI is listing
the Co-Pay Reimbursement Patients as creditors in MRI’s bankruptcy schedules. MRI's bankruptcy
schedules references the LIA bankruptcy. LIA does not believe that the Co-Pay Reimbursement Patients
hold claims against LIA and, as such, LIA is not listing the Co-Pay Reimbursement Patients as creditors of
LIA in LIA’s bankruptcy schedules.
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                      Desc Main
                                                                  Document     Page 22 of 41
 Fill in this information to identify the case:

 Debtor name         Libertyville Imaging Associates, Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Coffee service
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Month to Month              First Choice Coffee Service
                                                                                      c/o Richard T Avis, Attorney & Ass.
             List the contract number of any                                          PO BOX 31579
                   government contract                                                Chicago, IL 60631


 2.2.        State what the contract or                   Perform CT and MRI
             lease is for and the nature of               imaging services upon
             the debtor's interest                        third-party Doctors'
                                                          patients as a
                                                          subcontractor for
                                                          Debtor.
                  State the term remaining                At Will                     MRI of Libertyville, LLC
                                                                                      333 Peterson Road
             List the contract number of any                                          Suite 230
                   government contract                                                Libertyville, IL 60048


 2.3.        State what the contract or                   Debtor's reading of this
             lease is for and the nature of               contract for the
             the debtor's interest                        provision of
                                                          mammography tracking
                                                          software is that it was
                                                          entered November 20,
                                                          2014 and renews
                                                          annually unless
                                                          terminated pursuant to
                                                          the contract.
                  State the term remaining                To November 19, 2019
                                                                                      Penrad Technologies, Inc.
             List the contract number of any                                          114 Commerce Circle
                   government contract                                                Buffalo, MN 55313


 2.4.        State what the contract or                   Postage machine.
             lease is for and the nature of                                           Pitney Bowes
             the debtor's interest                                                    PO BOX 371874
                                                                                      Pittsburgh, PA 15250-7874

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                 Desc Main
                                                                  Document     Page 23 of 41
 Debtor 1 Libertyville Imaging Associates, Inc                                                 Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.5.        State what the contract or                   Agreement for
             lease is for and the nature of               professional services
             the debtor's interest                        dated 12/1/2016
                                                          (provide off site
                                                          diagnositic services).
                  State the term remaining                                             Radiology Reports Online LLC
                                                                                       7804 W College Drive
             List the contract number of any                                           Ste 3N
                   government contract                                                 Palos Heights, IL 60463


 2.6.        State what the contract or                   Medical Waste Disposal
             lease is for and the nature of               Service Agreement
             the debtor's interest

                  State the term remaining                Mont to Month
                                                                                       Stericycle, Inc.
             List the contract number of any                                           4010 Commercial Ave.
                   government contract                                                 Northbrook, IL 60062


 2.7.        State what the contract or                   CT/MRI Service
             lease is for and the nature of               Contract.
             the debtor's interest                        SVC-0734-112210-1915-
                                                          A dated 11/22/2010.
                  State the term remaining                12/14/2023
                                                                                       Zetta Medical Technologies
             List the contract number of any                                           1313 Ensell Road
                   government contract                                                 Lake Zurich, IL 60047


 2.8.        State what the contract or                   CT/MRI Service
             lease is for and the nature of               Contract.
             the debtor's interest                        SVC-0734-073012-3000-
                                                          A dated 7/30/2015.
                  State the term remaining                12/14/2023
                                                                                       Zetta Medical Technologies
             List the contract number of any                                           1313 Ensell Road
                   government contract                                                 Lake Zurich, IL 60047




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                  Desc Main
                                                                  Document     Page 24 of 41
 Fill in this information to identify the case:

 Debtor name         Libertyville Imaging Associates, Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Barkath                           333 PETERSON RD                                   Accel Capital                      D
             Management                        Libertyville, IL 60048-1085                                                          E/F       3.1
             Services, Inc.
                                                                                                                                    G




    2.2      Barkath                           333 PETERSON RD                                   Accel Capital-TVT                  D
             Management                        Libertyville, IL 60048-1085                                                          E/F       3.2
             Services, Inc.
                                                                                                                                    G




    2.3      Barkath                           333 PETERSON RD                                   Byline Bank c/o                    D   2.1
             Properties, LLC                   Libertyville, IL 60048-1085                       Chuhak & Tecson,                   E/F
                                                                                                 PC
                                                                                                                                    G




    2.4      Barkath                           333 PETERSON RD                                   Accel Capital                      D
             Properties, LLC                   Libertyville, IL 60048-1085                                                          E/F       3.1
                                                                                                                                    G




    2.5      Barkath                           333 PETERSON RD                                   Accel Capital-TVT                  D
             Properties, LLC                   Libertyville, IL 60048-1085                                                          E/F       3.2
                                                                                                                                    G




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 2
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06            Desc Main
                                                                  Document     Page 25 of 41
 Debtor       Libertyville Imaging Associates, Inc                                          Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      MRI of                            333 PETERSON RD                                   Byline Bank c/o            D   2.1
             Libertyville, LLC                 Libertyville, IL 60048-1085                       Chuhak & Tecson,           E/F
                                                                                                 PC
                                                                                                                            G




    2.7      MRI of                            333 PETERSON RD                                   Accel Capital              D
             Libertyville, LLC                 Libertyville, IL 60048-1085                                                  E/F       3.1
                                                                                                                            G




    2.8      MRI of                            333 PETERSON RD                                   Accel Capital-TVT          D
             Libertyville, LLC                 Libertyville, IL 60048-1085                                                  E/F       3.2
                                                                                                                            G




    2.9      SHOUKATH S.                       251 BALMORAL CT                                   Spark Funding              D
             AHMED                             Glendale Heights, IL 60139-1306                                              E/F       3.18
                                                                                                                            G




    2.10     SHOUKATH S.                       251 BALMORAL CT                                   Spark Funding              D
             AHMED                             Glendale Heights, IL 60139-1306                                              E/F       3.19
                                                                                                                            G




    2.11     SHOUKATH S.                       251 BALMORAL CT                                   Byline Bank c/o            D   2.1
             AHMED                             Glendale Heights, IL 60139-1306                   Chuhak & Tecson,           E/F
                                                                                                 PC
                                                                                                                            G




Official Form 206H                                                           Schedule H: Your Codebtors                               Page 2 of 2
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                              Desc Main
                                                                  Document     Page 26 of 41


 Fill in this information to identify the case:

 Debtor name         Libertyville Imaging Associates, Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $845,349.42
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,203,821.61
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,243,790.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                  Case 19-24323                   Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                   Desc Main
                                                                  Document     Page 27 of 41
 Debtor       Libertyville Imaging Associates, Inc                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               MRI of Libertyville, LLC                                    MAY 27,                            Unknown                 Secured debt
               333 Peterson Road                                           2019 TO                                                    Unsecured loan repayments
               Suite 230                                                   AUGUST 26,                                                 Suppliers or vendors
               Libertyville, IL 60048                                      2019. The                                                  Services
                                                                           specific
                                                                           dollar                                                  Other Payment in the
                                                                           amounts are                                           ordinary course of business for
                                                                           being                                                 subcontractor imaging
                                                                           determined                                            services.
                                                                           and will be
                                                                           listed in an
                                                                           amended
                                                                           filing.

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    MRI of Libertyville, LLC                                    AUGUST 27,                         Unknown            Payment in the ordinary course
               333 Peterson Road                                           2018 TO                                               of business for subcontractor
               Suite 230                                                   AUGUST 26,                                            imaging services.
               Libertyville, IL 60048                                      2019. The
                                                                           specific
                                                                           dollar
                                                                           amounts are
                                                                           being
                                                                           determined
                                                                           and will be
                                                                           listed in an
                                                                           amended
                                                                           filing.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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                  Case 19-24323                   Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                              Desc Main
                                                                  Document     Page 28 of 41
 Debtor       Libertyville Imaging Associates, Inc                                                      Case number (if known)




           None.

               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    BYLINE BANK, as successor                         Foreclosure/Reple         Circuit Court 19th Judicial                 Pending
               in interest to Ridgestone                         vin                       Circuit                                     On appeal
               Bank v. Barkath Properties                                                  18 N County Street
                                                                                                                                       Concluded
               LLC, Mark Khayat, Lia Khayat,                                               Waukegan, IL 60085
               MRI of Libertyville, Imaging
               Associates, Inc. D/B/A
               Libertyville Imaging Center et.
               al
               2018 CH 1265

       7.2.    ACCEL CAPITAL FUNDING,                            Registration of           CIRCUIT COURT OF                            Pending
               LLC                                               Foreign                   DUPAGE COUNTY,                              On appeal
               Plaintiff                                         Judgment.                 ILLINOIS
                                                                                                                                       Concluded
               v.
               MRI OF LIBERTYVILLE, LLC
               d/b/a MRI OF
               LIBERTYVILLE;
               LIBERTYVILLE IMAGING
               ASSOCIATES, INC.
               d/b/a LIBERTYVILLE
               IMAGING CENTER;
               BARKATH MANAGEMENT
               SERVICES, INC.;
               BARKATH PROPERTIES,
               LLC;
               SHOUKATH S SHMED
               Defendants.
               2019AR000997

       7.3.    Radiology Reports Online v.                       Contract                  Circuit Court Cook County                   Pending
               Libertyville Imaging                                                        50 W. Washington                            On appeal
               Assoiates, Inc. d/b/a/                                                      Chicago, IL 60602
                                                                                                                                       Concluded
               Libertyville Imaging Center
               2019-L013069

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                   Desc Main
                                                                  Document     Page 29 of 41
 Debtor        Libertyville Imaging Associates, Inc                                                         Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.                                                                                                                   April
                                                                                                                               2019-$6,000
                                                                                                                               May 2019 -
                                                                                                                               $5,000
                 Foster Legal Services, PLLC                                                                                   August
                 16311 Byron Drive                                                                                             2019 -
                 Orland Park, IL                                     Attorney Fees                                             $4,000                   $15,000.00

                 Email or website address
                 chf@fosterlegalservices.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                     Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                            Desc Main
                                                                  Document     Page 30 of 41
 Debtor        Libertyville Imaging Associates, Inc                                                     Case number (if known)




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services        If debtor provides meals
                                                                 the debtor provides                                                 and housing, number of
                                                                                                                                     patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was           Last balance
               Address                                           account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Huntington Bank                                 XXXX-8079                   Checking                 January 16, 2019                    $0.00
                 Attn: GW1N140                                                               Savings
                 5555 Cleveland Ave
                                                                                             Money Market
                 Columbus, OH 43231
                                                                                             Brokerage
                                                                                             Other

       18.2.     LIbertyville Bank & Trust                       XXXX-8044                   Checking                 December 28,                        $0.00
                                                                                             Savings
                                                                                                                      2018
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.3.     Huntington Bank                                 XXXX-0866                   Checking                 October 26, 2018                    $0.00
                 Attn: GW1N140                                                               Savings
                 5555 Cleveland Ave
                                                                                             Money Market
                 Columbus, OH 43231
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                           Desc Main
                                                                  Document     Page 31 of 41
 Debtor      Libertyville Imaging Associates, Inc                                                       Case number (if known)




          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                  Desc Main
                                                                  Document     Page 32 of 41
 Debtor      Libertyville Imaging Associates, Inc                                                       Case number (if known)




25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Catlana Caboor, CPA                                                                                                        December 2016 to
                    101 West 22nd Street                                                                                                       present.
                    Suite #207
                    Lombard, IL 60148

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Jacob Fine



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Catlana Caboor, CPA
                    101 West 22nd Street
                    Suite #207
                    Lombard, IL 60148

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Byline Bank
                    3639 N. Broadway
                    Chicago, IL 60613

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                              Desc Main
                                                                  Document     Page 33 of 41
 Debtor      Libertyville Imaging Associates, Inc                                                       Case number (if known)



    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Shoukath Ahmed                                 251 Balmoral Court                                  Sole Shareholder, President,          100
                                                      Glendale Heights, IL 60139                          Secretary, and Sole Director



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 28, 2019

 /s/ Shoukath Ahmed                                                     Shoukath Ahmed
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                        Desc Main
                                                                  Document     Page 34 of 41
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Libertyville Imaging Associates, Inc                                                             Case No.
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 28, 2019                                                             /s/ Chester H. Foster, Jr.
     Date                                                                        Chester H. Foster, Jr. 3122632
                                                                                 Signature of Attorney
                                                                                 Foster Legal Services, PLLC
                                                                                 16311 Byron Drive
                                                                                 Orland Park, IL
                                                                                 708-403-3800 Fax: 708-403-4095
                                                                                 chf@fosterlegalservices.com
                                                                                 Name of law firm




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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                                 Desc Main
                                                                  Document     Page 35 of 41
                                                               United States Bankruptcy Court
                                                                      Northern District of Illinois
 In re      Libertyville Imaging Associates, Inc                                                                      Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date August 28, 2019                                                        Signature /s/ Shoukath Ahmed
                                                                                            Shoukath Ahmed

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06               Desc Main
                                                                  Document     Page 36 of 41




                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Libertyville Imaging Associates, Inc                                                        Case No.
                                                                                  Debtor(s)             Chapter    11




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                  36




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       August 28, 2019                                           /s/ Shoukath Ahmed
                                                                       Shoukath Ahmed/President
                                                                       Signer/Title




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    Case 19-24323   Doc 1   Filed 08/28/19 Entered 08/28/19 10:10:06   Desc Main
                             Document     Page 37 of 41

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                      Accel Capital
                      65 West 36th Street
                      Suite 12
                      New York, NY 10018


                      Accel Capital, Inc.
                      c/o Tara N. Pomparellli, Esq.
                      30 Wall Street; 8th Floor
                      New York, NY 10005


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                       65 West 36th Street
                      Suite 12
                      New York, NY 10018


                      Accel Capital-TVT, Inc.
                      c/o Tara N. Pomparellli, Esq.
                      30 Wall Street; 8th Floor
                      New York, NY 10005


                      Alan H. Shiffrin & Attorney
                      3315 Algonquin Road
                      Suite # 202
                      Rolling Meadows, IL 60008


                      Amjad & Fauzia Safvi
                      7804 W. College Drive
                      Suite 3N
                      Palos Heights, IL 60463


                      Barkath Management Services, Inc.
                      333 PETERSON RD
                      Libertyville, IL 60048-1085


                      Barkath Properties, LLC
                      333 PETERSON RD
                      Libertyville, IL 60048-1085


                      Bayer HealthCare
                      PO BOX 360172
                      Pittsburgh, PA 15251-6172


                      Bracco Diagnostics, Inc.
                      PO BOX 978952
                      Dallas, TX 75397-8952
Case 19-24323   Doc 1   Filed 08/28/19 Entered 08/28/19 10:10:06   Desc Main
                         Document     Page 38 of 41


                  Byline Bank c/o Chuhak & Tecson, PC
                  Kara Allen
                  30 S. Wacker Dr., Ste. 2600
                  Chicago, IL 60606-7512


                  Catlana Caboor, CPA
                  101 West 22nd Street
                  Suite #207
                  Lombard, IL 60148


                  First Choice Coffee Service
                  c/o Richard T Avis, Attorney & Ass.
                  PO BOX 31579
                  Chicago, IL 60631


                  Henry Shein
                  c/o Frontline Asset Strategies
                  2700 Snelling Ave. N, Ste 250
                  Saint Paul, MN 55113


                  Lichtman Eisen Partners, Ltd.
                  134 N. LaSalle Street
                  Suite 750
                  Chicago, IL 60602


                  McKesson Medical- Surgical
                  9954 Maryland Drive
                  Suite 4000
                  Richmond, VA 23223


                  Medline Industries, Inc.
                  Dept CH 14400
                  Palatine, IL 60055-4400


                  MRI of Libertyville, LLC
                  333 Peterson Road
                  Suite 230
                  Libertyville, IL 60048


                  MRI of Libertyville, LLC
                  333 PETERSON RD
                  Libertyville, IL 60048-1085


                  MRIequip.com
                  6248 Bittersweet Lane
                  Nisswa, MN 56468
Case 19-24323   Doc 1   Filed 08/28/19 Entered 08/28/19 10:10:06   Desc Main
                         Document     Page 39 of 41


                  MRIequip.com
                  c/o Thrive Collection Services
                  9300 NE Vancouver Mall Dr. Ste. 204
                  Vancouver, WA 98662


                  PenRad
                  114 Commerce Circle
                  Buffalo, MN 55313


                  Penrad Technologies, Inc.
                  114 Commerce Circle
                  Buffalo, MN 55313


                  Pitney Bowes
                  PO BOX 371874
                  Pittsburgh, PA 15250-7874


                  Radiology Reports Online LLC
                  7804 W College Drive
                  Ste 3N
                  Palos Heights, IL 60463


                  Rocky Mountain Chiropractic...
                  7500 Wadsworth Blvd.
                  Arvada, CO 80003


                  SHOUKATH S. AHMED
                  251 BALMORAL CT
                  Glendale Heights, IL 60139-1306


                  Spark Funding
                  95 ROUTE 17 S
                  Paramus, NJ 07652


                  Spark Funding
                  c/o RTR Recovery,LLC.
                  122 East 42nd Street, Suite 2112
                  New York, NY 10168


                  SPARK FUNDING LLC
                  c/o RTR Recovery,LLC.
                  122 East 42nd Street, Suite 2112
                  New York, NY 10168
Case 19-24323   Doc 1   Filed 08/28/19 Entered 08/28/19 10:10:06   Desc Main
                         Document     Page 40 of 41


                  Stericycle, Inc.
                  4010 Commercial Ave.
                  Northbrook, IL 60062


                  TDS
                  PO BOX 94510
                  Palatine, IL 60094-4510


                  US Small Business Administration
                  801 R Street
                  Suite 101
                  Fresno, CA 93721


                  US Small Business Administration
                  801 Tom Martin Drive
                  Suite 120
                  Birmingham, AL 35211


                  Wise Medical Services
                  16308 S 107th Street
                  Suite #10
                  Orland Park, IL 60467


                  Zetta Medical Technologies
                  1313 Ensell Road
                  Lake Zurich, IL 60047
                 Case 19-24323                    Doc 1          Filed 08/28/19 Entered 08/28/19 10:10:06                Desc Main
                                                                  Document     Page 41 of 41



                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Libertyville Imaging Associates, Inc                                                         Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Libertyville Imaging Associates, Inc in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 28, 2019                                                     /s/ Chester H. Foster, Jr.
 Date                                                                Chester H. Foster, Jr. 3122632
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Libertyville Imaging Associates, Inc
                                                                     Foster Legal Services, PLLC
                                                                     16311 Byron Drive
                                                                     Orland Park, IL
                                                                     708-403-3800 Fax:708-403-4095
                                                                     chf@fosterlegalservices.com




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